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 6                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 7                                       AT SEATTLE

 8   JENNIFER JAY LEE,
     a/k/a Jason Lee Sutton
 9                                                        Case No. C22-1392-KKE-MLP
                                   Plaintiff,
10
            v.                                            MINUTE ORDER
11
     LESLIE O’CONNOR,
12
                                   Defendant.
13

14          The following Minute Order is made by direction of the Court, the Honorable Michelle L.

15   Peterson, United States Magistrate Judge:

16          On June 14, 2024, the parties submitted a stipulated motion to continue summary

17   judgment and trial related deadlines. (Dkt. # 61.) On June 20, 2024, the Honorable Kymberly K.

18   Evanson, United States District Judge, issued a Minute Order striking the trial related deadlines.

19   (See dkt. # 62.) Defendant’s motion for summary judgment, however, remains pending, and the

20   parties’ request to extend deadlines related to that motion is GRANTED. Plaintiff shall file a

21   response to Defendant’s motion for summary judgment not later than June 28, 2024, and

22   Defendant shall file any reply brief not later than July 12, 2024. Defendant’s motion for

23   summary judgment (dkt. # 47) is RE-NOTED for consideration on July 12, 2024.


     MINUTE ORDER - 1
         Case 2:22-cv-01392-KKE-MLP Document 63 Filed 06/21/24 Page 2 of 2




 1        DATED this 21st day of June, 2024.

 2                                                Ravi Subramanian
                                                  Clerk of Court
 3
                                               By: Serge Bodnarchuk
 4                                                 Deputy Clerk

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     MINUTE ORDER - 2
